                     IN THE UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA

WALTER SCOTT PARKER, III,                     )
                                              )
       Plaintiff,                             )
                                              )
       v.                                     )      Case No. 1:13-cv-322
                                              )
INTEGRITY FINANCIAL PARTNERS,                 )
INC.,                                         )
                                              )
       Defendant.                             )

                               PLAINTIFF’S COMPLAINT

       Plaintiff, WALTER SCOTT PARKER, III (“Plaintiff”), through his attorney, Christopher

D. Lane, alleges the following against Defendant, INTEGRITY FINANCIAL PARTNERS, INC.

(“Defendant”):

                                    INTRODUCTION

   1. Count I Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

       U.S.C. 1692, et seq. (“FDCPA”).

   2. Count II of Plaintiff’s Complaint is based on the North Carolina Fair Debt Collection

       Practices Act, N.C. Gen. Stat. §58-70, et seq. (“NCDCA”).

   3. Count III Plaintiff’s Complaint is based on the North Carolina Unfair Trade Practices

       Act, N.C. Gen. Stat. § 75-1.1, et seq. (“NCUTPA”).

                              JURISDICTION AND VENUE

   4. This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367, and 15 U.S.C. §1692k.

   5. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

       actions may be brought and heard before “any appropriate United States district court



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   without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

   supplemental jurisdiction over the state claims contained within.

6. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue

   occurred in this District.

                                          PARTIES

7. Plaintiff is a natural person residing in Greensboro, Guilford County, North Carolina.

8. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3).

9. Plaintiff is a person as the term is defined by N.C. Gen.Stat. § 58-70-6(4).

10. Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

11. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

12. Defendant is a collection agency as the term is defined by N.C. Gen.Stat. §58-70-15, and

   is duly licensed collect debt in the state of North Carolina pursuant to N.C. Gen. Stat.

   §58-70-1.

13. Defendant is a collection agency headquartered in Overland Park, Kansas.

14. Within the last year, Defendant attempted to collect a consumer debt from Plaintiff.

15. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

   account balances.

16. The principal purpose of Defendant’s business is the collection of debts allegedly owed

   to third parties.

17. Defendant regularly collects, or attempts to collect, debts allegedly owed to third parties.

18. During the course of its attempts to collect debts allegedly owed to third parties,

   Defendant sends to alleged debtors bills, statements, and/or other correspondence, via

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   the mail and/or electronic mail, and initiates contact with alleged debtors via various

   means of telecommunication, such as by telephone and facsimile.

19. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and

   insurers.

                             FACTUAL ALLEGATIONS

20. Defendant is attempting to collect a consumer debt from Plaintiff that Plaintiff does not

   owe.

21. The alleged debt at issue arises from transactions for personal, family, and household

   purposes.

22. Starting approximately one year ago, Defendant began placing collection calls to

   Plaintiff at 336-545-1213.

23. Plaintiff believes Defendant is attempting to collect a debt from Wesley Parker.

24. Plaintiff does not owe the debt and does not know Wesley Parker.

25. On more than one occasion, Plaintiff told Defendant that Plaintiff is not the debtor, and

   Plaintiff does not know the debtor.

26. On more than one occasion, Plaintiff requested Defendant to stop calling Plaintiff.

27. Despite Plaintiff’s repeated requests, Defendant continued to call Plaintiff in an attempt

   to collect a debt.

                            COUNT I
     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

28. Defendant violated the FDCPA based on the following:

       a. Defendant’s violated §1692c(a)(1) by contacting Plaintiff at a place and during a

           time known to be inconvenient for the Plaintiff.
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       b. Defendant violated §1692d of the FDCPA by engaging in conduct that the

           natural consequences of which was to harass, oppress, and abuse Plaintiff in

           connection with the collection of an alleged debt.

       c. Defendant violated §1692d(5) of the FDCPA by causing a telephone to ring

           repeatedly and continuously with the intent to annoy, abuse, and harass Plaintiff.

29. Defendant’s acts as described above were done intentionally with the purpose of

   harassing Plaintiff.

30. As a result of the foregoing violations of the FDCPA, Defendant is liable to the Plaintiff

   for actual damages, statutory damages, and costs and attorney’s fees.

                                COUNT II
                    VIOLATIONS OF THE NORTH CAROLINA
                   FAIR DEBT COLLECTION PRACTICES ACT

31. Plaintiff repeats and realleges paragraphs 1-27 of Plaintiff’s Complaint as the allegations

   in Count II of Plaintiff’s Complaint.

32. Defendant violated the NCDCA based on the following:

       a. Defendant caused a telephone to ring or engaged the Plaintiff in telephone

           conversation with such frequency as to be unreasonable or to constitute a

           harassment to Plaintiff under the circumstances, in violation of N.C. Gen.Stat. §

           58-70-100(3).

                         COUNT III
VIOLATIONS OF THE NORTH CAROLINA UNFAIR TRADE PRACTICES ACT

33. Plaintiff repeats and realleges paragraphs 1-27 of Plaintiff’s Complaint as the allegations

   in Count III of Plaintiff’s Complaint.

34. Defendant’s unfair or deceptive acts to collect the Debt occurred in commerce, in

   violation of N.C. Gen.Stat. § 75-1.1.

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   35. Defendant violated the §75-1.1 and §75-52 of the NCDCA by engaging in any conduct,

        the natural consequence of which is to oppress, harass, or abuse any person in

        connection with the attempt to collect any debt.

   36. Plaintiff suffered mental anguish and other damages in an amount to be proven at trial.

   37. Defendant’s failure to comply with these provisions constitutes an unfair or deceptive act

        under N.C. Gen. Stat. § 75-1.1 and, as such, Plaintiff is entitled to damages plus

        reasonable attorney’s fees.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, WALTER SCOTT PARKER, III, respectfully requests

judgment be entered against Defendant, INTEGRITY FINANCIAL PARTNERS, INC., for the

following:

   1. Actual damages pursuant to 15 U.S.C. §1692k(a)(1);

   2.   Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A);

   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §1692k(a)(3);

   4. Actual damages pursuant to N.C. Gen. Stat. §58-70-130(a);

   5. Statutory damages of $4,000.00 for each violation pursuant to N.C. Gen. Stat. §58-70-

        130(b);

   6. Attorney’s fees pursuant to N.C.G.S. §75-16.1;

   7. Statutory damages pursuant to 47 U.S.C. §227(b)(3)(B) & (C);

   8. Actual damages from Defendant for the all damages including emotional distress

        suffered as a result of the intentional, reckless, and/or negligent FDCPA and North

        Carolina state law violations in an amount to be determined at trial for the Plaintiff;

   9.   At trial by jury on all issues of fact;

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   10. Such other and further relief as may be just and proper.




DATED: April 18, 2013                RESPECTFULLY SUBMITTED,



                                     By: /s/ Christopher D. Lane
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